            Case 2:17-cv-01731-TSZ Document 45 Filed 07/17/18 Page 1 of 3



                                                                    Honorable Thomas S. Zilly
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 8
                                     U.S. DISTRICT COURT
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10                     FOR THE WESTERN DISTRICT OF WASHINGTON

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           STRIKE 3 HOLDINGS, LLC, a
12         Delaware corporation,
                                                Case No. 2:17-cv-01731-TSZ
13
                 Plaintiff,
14                                              REQUEST FOR JUDICIAL
                 vs.                            NOTICE IN SUPPORT OF
15                                              DEFENDANT’S SECOND
           JOHN DOE, subscriber assigned IP     MOTION FOR A MORE
16         address 73.225.38.130,               DEFINITE STATEMENT
17
                 Defendant.
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                                                                    EDMONDSON IP LAW
                                                           Venture Commerce Center, 3699 NE John Olsen Ave
     REQUEST FOR JUDICIAL NOTICE-1                                      Hillsboro, Oregon 97124
                                                                 TEL. 503.336.3749  FAX 503.482.7418
     CASE NO. 2:17-CV-01731-TSZ
             Case 2:17-cv-01731-TSZ Document 45 Filed 07/17/18 Page 2 of 3



                                  REQUEST FOR JUDICIAL NOTICE
 1

 2          Defendant JOHN DOE, subscriber assigned IP address 73.225.38.130, respectfully
     requests that, pursuant to Federal Rule of Evidence 201, the Court take judicial notice of the
 3
     following:
 4

 5
            RJN 1 – Teing, Y.-Y., Ali, D., Choo, K.-K. R., &Yang, M. (2016). Forensic
 6   investigation of P2P cloud storage services and backbone for IoT networks: BitTorrent Sync as
 7   a case study. Computers and Electrical Engineering, (2016).
 8
            RJN 2 – Bauer, K, McCoy. D, Grunwald, D, and Sicker, D BITSTALKER: Accurately
 9
     And Efficiently Monitoring Bittorrent Traffic.
10

11
            RJN 3 – “Functional Description of IPP International IP Tracker v1.2.1” - Exhibit 1 to
12   Declaration of Tobias Fieser in Malibu Media, LLC V. John Does, United States District Court,
13   E.D. California, Case 2:12-cv-01513-JAM-DAD
14

15          RJN 4 – Expert Report by Kal Toth.

16

17

18   Respectfully submitted on July 17, 2018       by: /s/ J. Curtis Edmondson
19                                                J. Curtis Edmondson, WSBA #43795
                                                  3699 NE John Olsen Avenue Hillsboro, OR 97124
20                                                Telephone: (503) 336-3749
                                                  Email: jcedmondson@edmolaw.com
21                                                Attorney for Defendant
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     CASE NO. 2:17-CV-01731-TSZ
             Case 2:17-cv-01731-TSZ Document 45 Filed 07/17/18 Page 3 of 3




 1
                                     CERTIFICATE OF SERVICE
 2

 3          I, J. Curtis Edmondson, hereby certify that on July 17, 2018, I electronically filed the

 4   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 5   such filing to the following:

 6                  Bryan J. Case, WSBA #41781
                    Email: bcase@foxrothschild.com
 7                  FOX ROTHSCHILD LLP (SEATTLE)
                    1001 Fourth Avenue, suite 4500
 8
                    Seattle, Washington 98154
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10                  Lincoln D. Bandlow, Admitted Pro Hac Vice
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11                  FOX ROTHSCHILD LLP (LOS ANGELES)
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12
                    Los Angeles, California 90067
13                  Telephone: (310) 598-4150

14                  Attorneys for Plaintiff Strike 3 Holdings LLC

15          DATED this 17th day of July, 2018.
16

17                                           By:      /s/ J. Curtis Edmondson
                                                   J. Curtis Edmondson
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                                                                           TEL. 503.336.3749  FAX 503.482.7418
     CASE NO. 2:17-CV-01731-TSZ
